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                                                                            2019 Mar-15 PM 01:39
                                                                            U.S. DISTRICT COURT
                                                                                N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                       SOUTHERN DIVISION
BUFORD LEE BURKS,          }
                           }
        Plaintiff,         }
                           }
v.                         }                  Case No.: 2:19-cv-00450-MHH
                           }
PUBLISHERS CLEARING HOUSE, }
et al.,                    }
                           }
        Defendants.        }


                                       ORDER


      Plaintiff has submitted an application to proceed in forma pauperis. The

Court finds that Plaintiff is indigent, and the application to proceed in forma

pauperis (Doc. # 2) is hereby GRANTED. The Clerk is DIRECTED to file this

action without prepayment of a fee.


      DONE and ORDERED this March 15, 2019.


                                      _________________________________
                                      MADELINE HUGHES HAIKALA
                                      UNITED STATES DISTRICT JUDGE
